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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                         Plaintiff,                 )
                                                      )
10          v.                                        ) 2:11-CR-334-APG-(GWF)
                                                      )
11 TRACEY BROWN,                                      )
                                                      )
12                         Defendant.                 )
13                              PRELIMINARY ORDER OF FORFEITURE

14           This Court finds that defendant TRACEY BROWN was found guilty on Counts Three, Four,

15 and Five of a Five-Count Superseding Indictment charging him in Count Three with Interference with

16 Commerce by Robbery in violation of Title 18, United States Code, Section 1951; in Count Four with

17 Brandishing a Firearm During a Crime of Violence in violation of Title 18, United States Code,

18 Section 924(c)(1)(A)(ii); and in Count Five with Felon in Possession of a Firearm in violation of Title

19 18, United States Code, Section 922(g)(1). Superseding Indictment, ECF No. 146; Minutes of Jury

20 Trial, ECF No. 199; Jury Verdict, ECF No. 200.

21           TRACEY BROWN agreed to the forfeiture of the property set forth in the Superseding

22 Indictment and the Settlement Agreement. Superseding Indictment, ECF No. 146; Settlement

23 Agreement, ECF No. 213.

24           This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

25 has shown the requisite nexus between property set forth in the Forfeiture Allegations of the

26 Superseding Indictment and the Settlement Agreement and the offenses to which defendant TRACEY
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 1 BROWN was found guilty. Superseding Indictment, ECF No. 146; Minutes of Jury Trial, ECF No.

 2 199; Jury Verdict, ECF No. 200; Settlement Agreement, ECF No. 213.

 3           The following assets are (1) any firearm or ammunition involved in or used in any knowing

 4 violation of Title 18, United States Code, Sections 922(g)(1), 924(c)(1)(A)(ii), and 1951 and (2) any

 5 firearm or ammunition intended to be used in any violation of Title 18, United States Code, Sections

 6 922(g)(1), 924(c)(1)(A)(ii), and 1951, and are subject to forfeiture pursuant to Title 18, United States

 7 Code, Section 924(d)(1) with Title 28, United States Code, Section 2461(c) and Title 18, United States

 8 Code, Section 924(d)(1), (2)(C), and (3)(A) with Title 28, United States Code, Section 2461(c):

 9               1. Any and all firearms, including, but not limited to, a 12-gauge Revelation Western

10                   Auto Supply Company shotgun, model # R310AB, bearing serial number H518278;

11                   and

12               2. Any and all ammunition

13 (all of which constitutes “property”).

14           This Court finds the United States of America is now entitled to, and should, reduce the

15 aforementioned property to the possession of the United States of America.

16           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

17 United States of America should seize the aforementioned property.

18           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

19 TRACEY BROWN in the aforementioned property is forfeited and is vested in the United States of

20 America and shall be safely held by the United States of America until further order of the Court.

21 IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America shall

22 publish for at least thirty (30) consecutive days on the official internet government forfeiture website,

23 www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the time

24 under the applicable statute when a petition contesting the forfeiture must be filed, and state the name

25 and contact information for the government attorney to be served with the petition, pursuant to Fed. R.

26 Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

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 1           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or entity

 2 who claims an interest in the aforementioned property must file a petition for a hearing to adjudicate

 3 the validity of the petitioner’s alleged interest in the property, which petition shall be signed by the

 4 petitioner under penalty of perjury pursuant to Title 21, United States Code, Section 853(n)(3) and

 5 Title 28, United States Code, Section 1746, and shall set forth the nature and extent of the petitioner’s

 6 right, title, or interest in the forfeited property and any additional facts supporting the petitioner’s

 7 petition and the relief sought.

 8           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

 9 with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101, no later than

10 thirty (30) days after the notice is sent or, if direct notice was not sent, no later than sixty (60) days

11 after the first day of the publication on the official internet government forfeiture site,

12 www.forfeiture.gov.

13           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

14 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

15 following address at the time of filing:

16                  Daniel D. Hollingsworth
                    Assistant United States Attorney
17                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
18                  Las Vegas, Nevada 89101.
19           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

20 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

21 following publication of notice of seizure and intent to administratively forfeit the above-described

22 property.

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 1         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send copies of

 2 this Order to all counsel of record.
         Dated:
          DATED   October
                     this ___30,
                              day2015.
                                  of ________________, 2015.
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 7                                            UNITED STATES DISTRICT JUDGE
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